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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

PATRICIA MCNULTY, : CIVIL ACTION NO: 19-5029 (AB)
Plaintiff,
-VS-

THE MIDDLE EAST FORUM,
DANIEL PIPES (individually), TRIAL BY JURY
GREGG ROMAN (individually), :

Defendants.

 

PROPOSED ORDER
AND NOW, to wit this day of , 2021, upon consideration of
Plaintiffs Motion for Leave with Withdraw her Admissions Deemed Admitted and Defendants’
Memorandum of Law in Opposition thereto, it is hereby ORDERED and DECREED that
Plaintiffs Motion to Withdraw her Admissions is DENIED and Defendants’ Requests for
Admissions are deemed admitted.

BY THE COURT:

 
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

PATRICIA MCNULTY, : CIVIL ACTION NO: 19-5029 (AB)
Plaintiff,
-VS-

THE MIDDLE EAST FORUM, :
DANIEL PIPES (individually), TRIAL BY JURY
GREGG ROMAN (individually),

Defendants.

 

DEFENDANTS’? MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFEF’S
MOTION FOR LEAVE TO WITHDRAW ADMISSIONS DEEMED ADMITTED

I. INTRODUCTION

Defendants, by and through their undersigned counsel, hereby submit the following
Memorandum of Law in Opposition to Plaintiff's Motion for Leave to Withdraw her Admissions
Deemed Admitted. As set forth below, Plaintiff's Motion to Withdraw her Admissions should
be denied and Defendants’ Requests for Admissions deemed admitted.

Il. FACTUAL AND PROCEDURAL HISTORY

On January 27, 2021, Defendants served Plaintiff, through her counsel, with their First
Set of Requests for Admissions. (A true and accurate copy of Defendants’ Requests for
Admissions and Proof of Service is attached hereto as “Exhibit A”). In accordance with the
Federal Rules of Civil Procedure, Plaintiff was required to respond to these Requests for
Admissions within (30) days — on or before February 26, 2021.

Plaintiff did not respond to the Requests prior to the deadline. Accordingly, on March
16, 2021, Defendants filed a Motion to have Defendants’ First Request for Admissions deemed
admitted. (Docket Entry #59). On March 30, 2021, Plaintiff filed an opposition to Defendants’

motion, arguing that Defendants’ Requests for Admissions were not “served” pursuant to Rule 5
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of the Federal Rules of Civil Procedure because they were emailed and not sent regular mail.
(Docket Entry # 67). In her brief, Plaintiff conceded that only four (4) of Defendants’ Requests
would potentially be dispositive to her case. See Docket Entry # 67 at p. 5 (“A review of
Defendant, Greg Roman’s Request for Admissions confirms that only four (4) of the Requests
would be dispositive to Plaintiff’s case. Plaintiffis referring to Request for Admissions
Numbers 38, 41, 52, and 53”) (emphasis added).

On April 8, 2021, Defendants filed a Reply in further support of their motion. (Docket
Entry #71). On the same date, Judge Strawbridge entered an Order directing Defendants to file
a Reply Brief specifically addressing the application of Rule 36(b) of the Federal Rules of Civil
Procedure. (Docket Entry # 72). Pursuant to Judge Strawbridge’s Order, Defendants filed a
supplemental Reply brief on April 13, 2021. (Docket Entry #73). Plaintiff did not file a surreply
brief, or request leave to file a surreply brief.

Now, more than four (4) months after Defendants’ motion was fully briefed, and seven
(7) months after the February 1, 2021 discovery deadline, Plaintiff has filed the present motion,
requesting that Plaintiff be permitted to withdraw her admissions. However, Plaintiff’s motion is
both procedurally improper and substantively inaccurate. Plaintiff could have, and should have,
raised her arguments during the briefing of Defendant’s initial motion. However, Plaintiff
waited an extra four (4) months to file her misguided motion. Moreover, Plaintiff falls far short
of her burden of withdrawing her admissions under R. 36(b).
lil. ARGUMENT

A. Legal Standard

The Federal Rules of Civil Procedure allow a party to serve another party with a written

request to admit the truth of relevant matters. Fed. R. Civ. P. 36(a)(1). If the receiving party fails
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to respond to requests for admission within thirty days, any matters properly included in the
requests are deemed admitted. Fed. R. Civ. P. 36(a)(3). See also Acosta v. Cent. Laundry, Inc.,
2019 U.S. Dist. LEXIS 125587, at *10 (E.D. Pa. July 29, 2019) (explaining that under Federal
Rule of Civil Procedure 36(a)(3), the "[e]ffect of [nJot [r]Jesponding" to a request for admission is
that the "matter 1s admitted").

B. Plaintiff was “Served” with Defendants’ Requests for Admissions

In her Motion, Plaintiff rehashes her flawed argument that Defendants’ Requests for
Admissions were “never served.” However, Defendants served Plaintiff with their Requests for
Admissions via email on January 27, 2021. (“Exhibit A”).

As stated in Defendants’ original Reply Brief, Plaintiff's argument is contrary to the
parties’ standard practices throughout this case, COVID-19 policies, and applicable case law.
Throughout this case the parties have exchanged discovery requests, discovery responses,
deposition notices, and letters via email. Additionally, the COVID-19 pandemic significantly
expanded the use of electronic service. On March 17, 2020, Judge Sanchez entered an Order
suspending Local Civil Rule 5.1.2 to allow parties to file Complaints electronically.'_ Similarly,
the Court has suspended the obligation to submit paper courtesy copies to Chambers or the
Clerk’s Office.”

Additionally, Plaintiffs argument is foreclosed by Judge McHugh’s decision in Coleman
v. Colo. Tech. Univ., 2017 U.S. Dist. LEXIS 83701 (E.D. Pa. June 1, 2017), a case decided pre-
COVID. As here, in Coleman the plaintiff argued “that she was not required to respond to [the

defendant’s] requests for admissions because they were served on her by email without her prior

 

* See https://www.paed.uscourts. gov/documents/standord/Standing%200rder%20%20
Electronic%20Filing%200f%20Complaints%20in%20Civi1%20Cases. pdf.

2 See https://www.paed. uscourts.gov/documents/notices/not_paper%20courtesy%20copies. pdf.

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written consent—and thus, under Federal Rule of Civil Procedure 5, not properly served.” Jd. at
*5. However, Judge McHugh rejected that argument, holding that the plaintiffs counsel
“consented to electronic service of discovery requests when she registered as an Electronic Case
Filing (ECF) user with this Court.” /d. As a result, the “requests for admissions were properly
served, and because of the lack of response, the matters set forth in them...are deemed
admitted.” Jd. at *8.

Here, Plaintiff’s counsel is a registered ECF user with this Court. Therefore, he
consented to service of all discovery requests, including Defendants’ Requests for Admissions,
to be served via email.’ Plaintiff does not even try to distinguish Judge McHugh’s opinion in
Coleman. Rather, Plaintiff simply expresses her disagreement with his decision. However,
Plaintiff has not provided a reason to disregard Judge McHugh’s well-reasoned opinion. Your
Honor should reach the same conclusion.

Cc. Plaintiff Should Not be Permitted to Withdraw Her Admissions Pursuant to
Federal Rule of Civil Procedure 36(b)

Under R. 36(b), “the court may permit withdrawal or amendment when the presentation
of the merits of the action will be subserved thereby and the party who obtained the admission
fails to satisfy the court that withdrawal or amendment will prejudice that party in maintaining
the action or defense on the merits.” (emphasis added). Notably, the Rule “is permissive, not
mandatory, with respect to the withdrawal of admissions.” Conlon vy. United States, 474 F.3d

616, 621 (9th Cir. 2007).

 

> The ECF registration form explicitly states that an ECF user consents to the following: "I agree
that service may be given to me by electronic transmission . . . of all documents."
https://ecf.paed.uscourts.gov/documents/frm_reg. pdf

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"The first half of the test in Rule 36(b) is satisfied when upholding the admissions would
practically eliminate any presentation of the merits of the case." /d. at 622. (internal quotations
and citations omitted). Here, upholding the admissions would not “eliminate any presentation of
the merits on the case.” Defendants’ requests for admissions were narrowly tailored to
streamline the record. In fact, Plaintiff admitted in her initial opposition brief that only four (4)
of the Requests for Admissions “would be dispositive to Plaintiffs case.” See Docket Entry #67
at. p. 5. Because Plaintiff admits that all of Defendants’ Requests, with the exception of four (4),
are not dispositive to Plaintiff's case, Defendants’ Requests do not fall within the scope of R.
36(b) and cannot be withdrawn.

Additionally, even the four (4) requests that Plaintiff takes issue with are not case
“dispositive.” Rather, they are narrowly tailored to specific dates and facts. Request 38 asks
Plaintiff to admit that the alleged “AIPAC” incident identified in her Complaint, was the first
allegation of “sexual harassment” from Gregg Roman.* Request 41 only asks her to confirm that
there was not “any alleged sexual harassment from March 6, 2018 through November 1, 2018.”
Requests 52 and 53 ask Plaintiff to confirm that Daniel Pipes investigated her complaints and
took remedial action. These requests are temporally limited, and confirmed by testimony and
documentary evidence. See Coleman, 2017 U.S. Dist. LEXIS 83701, at *9 (declining to grant
“relief under Rule 36(b)” because the plaintiffs “admission [was] entirely consistent with all of
the other record evidence”).

Next, Defendants would be highly prejudiced by permitting Plaintiff to withdraw her

admissions. Discovery in this matter closed on February 1, 2021. See Docket Entry #70. As set

 

4 Defendant Roman vehemently denies that any “sexual harassment” occurred either at the
AIPAC Conference or at any other time.
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forth in Judge Strawbridge’s various Opinions and Orders in this case, Plaintiff and her counsel
have engaged in a consistent pattern of failing to respond to motions, comply with Court Orders,
attend Court ordered conferences, and respond to discovery requests. /d.; Docket Entry #40;
Docket Entry #50.

If Plaintiff were permitted to withdraw her admissions and deny these Requests,
Defendants would essentially have to start discovery all over again. Due to Plaintiff's
recalcitrant behavior during discovery, Defendants were forced to send these Requests to
streamline the case and “narrow the issues by eliminating those that can be.” R. 36 advisory
committee note. If Plaintiff were allowed to withdraw these admissions seven (7) months after
the discovery deadline, Defendants would be severely prejudiced. Defendants would be forced to
undertake extensive, and expensive, supplemental discovery to explore the apparent
contradictions between deposition testimony and the responses to the Requests for Admissions.
See generally Wylie v. Transunion, LLC, 2017 U.S. Dist. LEXIS 162127, (W.D. Pa. Sep. 29,
2017) (denying the plaintiff's motion to withdraw their admissions a “month after the close of
discovery” because it would mean that “the case would need to, in essence, return to the
beginning of discovery”).

Here, Plaintiff failed to respond to the Requests for Admissions and failed to ask
Defendant or the Court for an extension of deadlines or stay of discovery. Instead, now seven
(7) months after the close of discovery, and more than four (4) months after Defendants’ motion
was fully briefed, Plaintiff seeks to withdraw her admissions. Plaintiffs belated request to

withdraw her admissions should be denied.
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D. Plaintiff’s Admissions are Applicable to All Defendants

Plaintiff’ s admissions are applicable to all Defendants. Plaintiff argues that because the
Requests for Admissions were only propounded by Defendant Roman, her admissions cannot be
utilized by the other Defendants. See Plaintiff's Bnef at p. 11. Plaintiff's argument defies
commonsense. Here, Plaintiff asserts the same allegations of discrimination and retaliation
against all of the Defendants arising under the same statutes. Because the Defendants’ interests

are aligned, Plaintiff's admissions are applicable to all Defendants.

IV. CONCLUSION

For the reasons set forth above, Defendants respectfully requests that the Court deny

Plaintiff's motion and deem their Requests for Admissions admitted by Plaintiff McNulty.

Respectfully submitted,

By: 2s’ Sidney L. Gold
Sidney L. Gold
William Rieser
SIDNEY L. GOLD & ASSOC. P.C.
1835 Market Street, Suite 515
Philadelphia, PA 19103
(215) 569-1999
Attorneys for Defendant
Gregg Roman

By: 4s: Jonathan R. Cavalier
Jonathan R. Cavalier
COZEN O’ CONNOR
One Liberty Place
1650 Market Street
Philadelphia, PA 19103
Phone: (215) 665-2000

Attorneys for Defendant
The Middle East Forum,
Daniel Pipes and Gregg Roman
DATED: 09/02/2021
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CERTIFICATE OF SERVICE

I hereby certify that on this date I caused a true and correct copy of Defendants’
Memorandum of Law in Opposition to Plaintiff’s Motion for Leave to Withdraw her

Admissions Deemed Admitted to be served via ecf mail upon all counsel of record:

Seth D. Carson, Esquire
DEREK SMITH LAW GROUP PLLC
1835 Market Street, Suite 2950
Philadelphia, PA 19103
Attorney for Plaintiff

Jon Cavalier, Esquire
Cozen O'Connor
1650 Market Street, Suite 2800
Philadelphia, PA 19103
P: 215-665-2000 F: 215-665-2013
Counsel for Defendants, The Middle East Forum, Daniel Pipes, and Gregg Roman

SIDNEY L. GOLD & ASSOC.,, P.C.

By: /s/ Sidney Gold, Esquire
SIDNEY L. GOLD, ESQUIRE
WILLIAM RIESER, ESQUIRE
1835 Market Street, Suite 515
Philadelphia, PA 19103
(215) 569-1999
Attorneys for Defendant, Gregg Roman

DATED: September 2, 2021
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Denise Drages

From: Denise Drages

Sent: Wednesday, January 27, 2021 4:49 PM

To: ‘Seth Carson’

Ce: Sidney Gold; Bill Rieser; ‘David Walton’; ‘Leigh Benson’; 'mdibianca@ClarkHill.com’;
‘klevine@clarkhill.com’; 'JCavalier@cozen.com'; Leanne Coyle

Subject: RE: McNulty v. Roman 19-5029 & 20-2945 - Plaintiff Gregg Roman's Requests for
Admission Directed to Plaintiff McNulty

Attachments: McNulty RFA-01-27-21-sent.pdf

Tracking: Recipient Read
‘Seth Carson’
Sidney Gold Read: 1/27/2021 5:04 PM
Bill Rieser
‘David Walton’

‘Leigh Benson’
‘mdibianca@ClarkHill.com'
‘klevine@clarkhill.com’
‘JCavalier@cozen.com'

Leanne Coyle Read: 1/27/2021 5:03 PM

Mr. Carson: Attached please find Defendant Roman’s Requests for Admission Addressed to
Plaintiff McNulty. Kindly respond within thirty (30) days. Please confirm your receipt. Thank
you.

3 Re RR eo oe eo oe oo a ok eee oo ee oR 2 EE RR oR oR oR ok ok OK

Denise Drages, Legal Assistant
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EXHIBIT

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

PATRICIA MCNULTY, CIVIL ACTION NO: 19-5029 (AB)
Plaintiff, :
-VS-
THE MIDDLE EAST FORUM, :
DANIEL PIPES (individually), : TRIAL BY JURY

GREGG ROMAN (individually), and
MATTHEW BENNETT (individually),
Defendants.

 

PATRICIA MCNULTY, : CIVIL ACTION NO: 20-2945 (AB)
Plaintiff, ‘
-VS-
THE MIDDLE EAST FORUM,

GREGG ROMAN (individually), and
Defendants. ; CONSOLIDATED ACTIONS

DEFENDANT, GREGG ROMAN’S REQUESTS FOR ADMISSION
DIRECTED TO PLAINTIFE

Defendant, Gregg Roman (“Defendant Roman’), by and through his undersigned
counsel, Sidney L. Gold & Associates, P.C., hereby requests that Plaintiff admit the truthfulness
of the following statements in accordance with the Federal Rules of Civil Procedure within thirty
(30) days of service.

INSTRUCTIONS

l. Each request is to be separately responded to, and Plaintiff is to indicate which
request or requests documents are being produced in response thereto.

2. Each request shall be continuous so as to require additional answers in further
information is to be obtained between the time an answer is served and the time of trial. Such

additional answers shall be served in conformity with the Federal Rules of Civil Procedure.
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3. If you do not answer any request for admission because of the claim of privilege,
set forth the privilege claim, and the facts upon which you rely in support of the claim of
privilege and identify all documents for which said privilege is claimed.

4. As used herein, the term “Defendant Roman” shall mean Gregg Roman.

5. As used herein, the term “Defendant MEF” shall mean The Middle East Forum
and its agents, servants and employees.

6. As used herein, the term “Defendant Bennett” shall mean Matthew Bennett.

5. As used herein, the term “Plaintiff” shall mean Patricia McNulty.

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REQUESTS FOR ADMISSION

 

1. Admit that Plaintiff commenced employment with Defendant on October 23,
2017.

a Admit that Plaintiff was hired to the position of Program Manager.

S. Admit that in her capacity as Program Manager, Plaintiff was responsible for

planning events for Defendant MEF.

4. Admit that Plaintiff was promoted to Director of Development in or about March
of 2019.

5. Admit that Plaintiff and Lisa Barbounis maintain a close friendship through the
present.

6. Admit that Plaintiff went on a trip to Atlantic City with Lisa Barbounis, Marnie

Meyer, and Caitriona Brady in or about August of 2019.

fle Admit that Plaintiff discussed with Lisa Barbounis, Marnie Meyer, and Caitriona
Brady the possibility of each of them leaving their respective employment with Defendant MEF
during the trip to Atlantic City in or about August of 2019.

8. Admit that Plaintiff was aware that Lisa Barbounis had more than one cell phone
during her tenure of employment with Defendant MEF.

9. Admit that Plaintiff communicated with Lisa Barbounis through the Telegram app
during her tenure of employment with Defendant MEF.

10. Admit that Plaintiff communicated with Lisa Barbounis through the WhatsA pp
app during her tenure of employment with Defendant MEF.

11. Admit that Plaintiff signed a Non-Disclosure Agreement on October 23, 2017.
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12. Admit that under the terms of the Non-Disclosure Agreement, Plaintiff has an
obligation not to disclose confidential information belonging to Defendant MEF.

13. Admit that under the terms of the Non-Disclosure Agreement, Plaintiff's
obligation not to disclose confidential information continued after her resignation from
Defendant MEF.

14, Admit that Plaintiff signed the “Bring Your Own Device Agreement” with
Defendant MEF.

15. Admit that under the “Bring Your Own Device Agreement” Plaintiff promised no
other person other than Plaintiff would have access to MEF data.

16. Admit that under the “Bring Your Own Device Agreement” Plaintiff agreed that
any Defendant MEF data contained on her electronic device may be subject to legal discovery.

17. Admit that under the “Bring Your Own Device Agreement” Plaintiff agreed that
Defendant MEF was entitled to access the said data.

18. Admit that the “Bring Your Own Device Agreement” applied to Plaintiff’s Gmail
account.

19. Admit that the Non-Disclosure Agreement applied to Plaintiff's Gmail account.

20. Admit that donor information, donor contributions, addresses, and/or contact
information for Defendant MEF’s donors is confidential information belonging to Defendant
MEF.

21. Admit that Plaintiff has not erased the contents of her Apple laptop following her
resignation from Defendant MEF in or about September of 2019.

22. Admit that Plaintiff currently has access to the Gmail account she used while

employed by Defendant MEF.
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23. Admit that Defendant MEF directed employees to no longer utilize personal email

accounts in or about February of 2019.

24, Admit that Plaintiff continued to utilize her personal Gmail account after
February of 2019.
25. Admit that Plaintiff did not return confidential information belonging to

Defendant MEF that was stored on her Apple laptop following her resignation in or about
September of 2019.

26. Admit that Plaintiff has in her possession confidential information of Defendant
MEF on her Apple laptop as of the present.

Die Admit that Plaintiff received Defendant MEF’s Personnel Manual and signed an
acknowledgment form confirming receipt.

28. Admit that under Defendant MEF’s Personnel Manual, Plaintiff agreed that: “If
you believe that you are the victim of impermissible harassment, or become aware of another
employee being subjected to impermissible harassment, you must promptly report the facts of the
incident to your supervisor or to the Director or to the Managing Director.”

29. Admit that Plaintiff attended the AIPAC convention in Washington D.C. as a
representative of Defendant MEF in or about March of 2018.

30. Admit that on March 4, 2018 Plaintiff attended Defendant MEF’s event at Cuba
Libre.

31. Admit that Plaintiff consumed alcohol on the evening of March 4, 2018.

32. Admit that as of March 4, 2018, Plaintiff had knowledge that Lisa Barbounis

previously lived in Washington D.C.
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33. Admit that Plaintiff took several Uber rides during the course of the AIPAC
convention weekend.

34. Admit that Defendant MEF’s reimbursed Plaintiff for Uber expenses during
Defendant MEF- related work trips.

35. Admit that Defendant MEF reimbursed Plaintiff for Uber expenses incurred
during the AIPAC convention in or about March of 2018.

36. Admit that Plaintiff went to the Airbnb in Washington D.C. on March 5, 2018.

37. Admit that Plaintiff slept at the Airbnb in Washington D.C. on March 5, 2018.

38. Admit that the incident at the AIPAC convention was the first instance of any
alleged sexual harassment from Defendant Roman to which Plaintiff was subjected during her
tenure of employment.

39. Admit that Plaintiff did not witness any alleged acts of sexual harassment of any
MEF employee prior to March 5, 2018.

40. Admit that Plaintiff did not report the alleged incident that occurred on March 5,
2018 to Daniel Pipes until November 1, 2018.

41. Admit that Plaintiff was not subjected to any alleged sexual harassment from
March 6, 2018 through November 1, 2018.

42. Admit that Lisa Barbounis sent Plaintiff a text message on March 14, 2018
wherein Lisa Barbounis stated: “I’m paranoid so delete this.”

43. Admit that Plaintiff took screenshots of her text message communications with

Lisa Barbounis on March 14, 2018.

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44, Admit that on March 14, 2018 Plaintiff sent a text message to Lisa Barbounis
wherein Plaintiff stated: “Oh gosh, so it got like aipac couch-ish” and wherein Lisa Barbounis
replied: “No.”

45. Admit that Lisa Barbounis sent a text message to Plaintiff on March 14, 2018
wherein Lisa Barbounis stated: “He said he fucked Lea and tried to meet up with her again and it
didn’t work out. He said he wanted another good blow job and then other weird shit.”

46. Admit that Plaintiff and Lisa Barbounis only communicated via text message on
March 14, 2018.

47, Adrit that Plaintiff initially informed Dr. Barbara Ziv that Plaintiff and Lisa
Barbounis only communicated via text message on March 14, 2018.

48. Admit that Plaintiff did not report the content of aforesaid text messages she
received from Lisa Barbounis on March 14, 2018 to Daniel Pipes until November 1, 2018.

49. Admit that Plaintiff did not report to Daniel Pipes that she suspected Defendant
Roman had subjected Lisa Barbounis to sexual harassment during the Israel trip in or about
March of 2018 until November I, 2018.

50. Admit that in Plaintiff's email dated November 1, 2018 to Daniel Pipes, Plaintiff
did not report any instances of alleged sexual harassment that occurred prior to March 5, 2018.

51, Admit that in Plaintiff's email dated November 1, 2018 to Daniel Pipes, Plaintiff
did not report any acts of alleged sexual harassment to which she was subjected that occurred
between March 6, 2018 through November |, 2018.

52. Admit that Daniel Pipes and/or Defendant MEF promptly investigated the

allegations made by Plaintiff on November 1, 2018.
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53. Admit that Daniel Pipes and/or Defendant MEF promptly took remedial action
following Plaintiff's disclosure of the alleged AIPAC incident on November 1, 2018.

54. Admit that on November 4, 2018 Plaintiff sent an email to Daniel Pipes wherein
Plaintiff stated: “I do promise that any future incidents, should they happen, will be reported to
you immediately.”

55. Admit that on November 4, 2018, Plaintiff sent an email to Daniel Pipes wherein
Plaintiff stated: “T want nothing more than to move on and continue working hard for MEF.”

56. Admit that on November 4, 2018, Plaintiff sent an email to Daniel Pipes wherein
expressed to Daniel Pipes that she was satisfied with changes proposed by Daniel Pipes in
response to Plaintiff's email dated November 1, 2018.

57. Admit that on November 4, 2018, Plaintiff sent an email to Daniel Pipes wherein
Plaintiff expressed to Daniel Pipes that she “considered this matter satisfactorily resolved.”

58. Admit that Plaintiff sent an email to Daniel Pipes on March 11, 2019 wherein
Plaintiff stated: “There has been a noticeable difference in the working relationship with
[Defendant Roman] in the past four months and the understanding moving forward is that this
will continue.”

59. Admit that Plaintiff agreed with Lisa Barbounis’ request for Defendant Roman to
return to the office.

60. Admit that Plaintiff agreed with Daniel Pipes and/or Defendant MEF’s decision to
permit Defendant Roman to return to the office.

61. Admit that Plaintiff did not report to Daniel Pipes that Plaintiff witnessed
Defendant Roman subject Lisa Barbounis to any alleged instances of sexual harassment from

March of 2019 through September of 2019.
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62. Admit that on May 10, 2019 Plaintiff received an email from Daniel Pipes
wherein Daniel Pipes stated: “Most importantly, I’d like to point out that since November you —
and everyone else in the office — reports to me [Daniel Pipes].”

63. Admit that on May 10, 2019 Plaintiff received an email from Daniel Pipes
wherein Daniel Pipes stated: “[Defendant Roman] has no authority over you and cannot force
you out of the Forum.”

64. Admit that on June 11, 2019 Plaintiff sent an email to Daniel Pipes wherein
Plaintiff stated: “There have been no new instances of sexual harassment since November when
Gregg was removed from the office, but I was referring to the ongoing psychological harassment
we discussed following his phone calls with Matt.”

65. Admit that Daniel Pipes promptly investigated the allegations set forth in
Plaintiff’s emails dated May 10, 2019 and June 11, 2019.

66. Admit that Daniel Pipes promptly took remedial action following Plaintiffs
emails dated May 10, 2019 and June 11, 2019 regarding Defendant Roman’s alleged behavior.

67. Admit that Plaintiff did not inform and/or disclose to Daniel Pipes that Defendant
Bennett deleted text messages from Plaintiff's phone and/or instructed Plaintiff to delete text
messages from her phone.

68. Admit that Plaintiff did not report any alleged sexual harassment from Defendant
Bennett until Plaintiff submitted her resignation letter on September 13, 2019.

69. Admit that Plaintiffs resignation letter dated September 13, 2019 was the first
instance she disclosed and/or reported any alleged sexual harassment from Defendant Bennett to

Daniel Pipes.
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70. Admit that Plaintiff did not express any opposition to Daniel Pipes regarding
Defendant Bennett serving as her supervisor beginning in or about November of 2018.

71. Admit that Plaintiff sent a text message to Defendant Bennett wherein Plaintiff
stated: “you’re honestly the greatest boss I’ve ever worked for, and you being proud of ny work
means the world.”

72. Admit that Plaintiff sent a text message to Defendant Bennett wherein Plaintiff
stated: “T hope you don’t go. Ifa time comes when you do, just remember your promise.”

73. Admit that Plaintiff did not register any complaints regarding any alleged pay
disparity and/or unequal pay during her tenure of employment with Defendant MEF.

74. Admit that the first time Plaintiff raised any alleged pay disparity and/or unequal
pay between Plaintiff and Defendant Bennett was in her resignation letter dated September 13,
2019.

75. Admit that Plaintiff began looking for employment outside of Defendant MEF in
or about May of 2019.

76. Admit that Plaintiff asked Matthew Bennett for assistance in securing
employment at the Zionist Organization of America (“ZOA”).

77. Admit that Plaintiff accepted an offer of employment from her current employer
Russell Reynolds Associates prior to submitting her resignation.

78. Admit that at the time of her resignation, Plaintiff earned $64,000 per annum with
Defendant MEF.

79. Admit that Plaintiff currently earns $85,000 per annum at her employment with

Russell Reynolds Associates.

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80. Admit that Plaintiff is not seeking damages for wage loss and/or backpay in this
matter,

81. Admit that Plaintiff is not seeking damages for front pay in this matter.

SIDNEY L. GOLD & ASSOC.,, P.C.

By:  /s/ Sidney Gold, Esquire
SIDNEY L. GOLD, ESQUIRE
1835 Market Street, Suite 515
Philadelphia, PA 19103
(215) 569-1999
Dated: 01/27/2021 Attorneys for Defendant, Gregg Roman

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CERTIFICATE OF SERVICE

I hereby certify that on this date I caused a true and correct copy of Defendant Gregg
Roman’s Requests for Admission Addressed to Plaintiff to be served via e-mail and/or

regular mail upon all counsel of record:

Seth D. Carson, Esquire
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Attorney for Plaintiff

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